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10
                                UNITED STATES DISTRICT COURT
11
                              NORTHERN DISTRICT OF CALIFORNIA
12

13 CureIS Healthcare, Inc.,                          Case No. 3:25-cv-04108-MMC

                 Plaintiff,                          FIRST AMENDED COMPLAINT
14
           vs.                                       CLAIMS FOR RELIEF:
15

16 Epic Systems Corporation,                         1.   VIOLATION OF THE SHERMAN
                                                          ACT (15 U.S.C. § 1) EXCLUSIVE
                Defendant.                                DEALING
17                                                   2.   VIOLATION OF THE SHERMAN
                                                          ACT (15 U.S.C. § 2) ATTEMPTED
18                                                        MONOPOLIZATION
                                                     3.   VIOLATION OF THE SHERMAN
19                                                        ACT (15 U.S.C. § 2) MONOPOLY
                                                          MAINTENANCE
20                                                   4.   TORTIOUS INTERFERENCE WITH
                                                          CONTRACTUAL RELATIONS
21                                                   5.   TORTIOUS INTERFERENCE WITH
                                                          PROSPECTIVE ECONOMIC
22                                                        ADVANTAGE
                                                     6.   TRADE LIBEL
23                                                   7.   LANHAM ACT
                                                     8.   UNFAIR COMPETITION (CAL.
24                                                        BUS. PROF. CODE § 17200, et seq.)
                                                     9.   FALSE ADVERTISING (CAL. BUS.
25                                                        PROF. CODE § 17500, et seq.)
26                                                   JURY TRIAL DEMANDED
27                                                   Trial Date:       None Set
28

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 1          CureIS Healthcare, Inc. (“CureIS”), by its undersigned counsel, hereby brings this action

 2 against Defendant Epic Systems Corporation (“Epic”) and alleges as follows:

 3                                   PRELIMINARY STATEMENT

 4            1.    In 2006, several healthcare industry veterans founded CureIS, with the mission of

 5 improving healthcare through information technology. The U.S. healthcare industry had long been

 6 plagued by inefficiencies and added costs stemming from antiquated systems that did not

 7 interoperate with each other and did not reflect the latest in technological progress. CureIS sought

 8 to help remedy that problem through a variety of software products. Today, it offers a suite of

 9 different options that automate, streamline, and optimize complex healthcare operations, including

10 enrollment, claims adjudication, revenue cycle management, compliance, and data management to

11 healthcare providers, Payers (i.e., health insurers), and research organizations. In particular, CureIS

12 specializes in technologies that enable managed services for government-managed programs like

13 Medicare, Medicaid, and state healthcare initiatives—historically underserved portions of the

14 overall industry.

15            2.    Defendant Epic is also a company that first sought to improve healthcare through

16 technological innovation, but has since lost the thread of that goal in favor of focusing ever more on

17 growth, no matter the cost. Today, Epic is the dominant provider of electronic health record (“EHR”)

18 software in the nation. The vast majority of health providers today have switched to EHR from

19 traditional paper records, giving Epic immense power throughout the entire healthcare industry.

20 Current estimates are that between 8 and 9 out of every 10 people in the U.S. have at least one Epic

21 EHR in their medical records, meaning that the only way to see the patient’s full medical history is

22 to obtain records from Epic. This means that nearly every player in the healthcare industry must be

23 able to interact with Epic’s EHR software in some way.

24            3.    Epic also provides a Core Administrative Processing System (“CAPS”) to the vast

25 majority of payer-sponsored health plans in the United States, via its Tapestry product. At a high

26 level, core administrative processing systems are software systems used by health plans, MCOs, and
27 other payers to determine whether a submitted healthcare claim should be approved, denied,

28 partially paid, or flagged for further review. These platforms automate the end-to-end lifecycle of

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 1 claims processing, from intake through adjudication, payment, and reporting. Providers enter

 2 medical information into their EHR system that is used to generate invoices from their billing

 3 systems (for Epic, the provider billing system is called Resolute), which is then ingested into payers’

 4 CAPS (i.e., Tapestry). The problem, however, is that providers’ EHR-generated data is often

 5 incomplete, incorrect, or formatted in a manner that cannot be read or utilized by the receiving

 6 payers’ CAPS. To solve this problem, a new category of software has arisen in the space between

 7 EHR and CAPS software: Managed Care Middleware (“MCM”).

 8            4.   MCM software, which is agnostic as to providers’ EHR software or payers’ CAPS

 9 software, translates billing and encounters data from a provider’s EHR software into a format that

10 can be properly validated and analyzed within a payer’s CAPS software. This greatly improves a

11 managed care organization’s business flow, leading to greater efficiencies, lower costs, and

12 corresponding benefits to patients. It also better allows both EHR and CAPS software users to switch

13 between systems, if they want. CureIS has been at the forefront of the MCM industry for nearly two

14 decades.

15            5.   Notably, by law, EHR and CAPS software providers like Epic must allow access to

16 the free flow of electronic health information (“EHI”) stored by their systems, and must allow—

17 and, indeed, facilitate—interoperability with those systems so that third parties, like CureIS, can

18 provide services to customers wishing to utilize that EHI for their everyday business. This is

19 mandated by the federal 21st Century Cures Act (“Cures Act”) and reflects Congress’s determination

20 that, in order to reduce healthcare costs and improve the healthcare system overall, it is against

21 federal law and policy to create EHI bottlenecks and other impediments to efficient use of such

22 information by anyone in the healthcare industry authorized to use the information.

23            6.   For the vast majority of its corporate life, CureIS had no issues with Epic or any other

24 EHR or CAPS provider (and still has no issues with other EHR or CAPS providers besides Epic).

25 CureIS grew its business by providing high quality products to customers needing its software

26 solutions—most often, third-party payers (i.e., health insurers)—and, in doing so, helped improve
27 healthcare for those most in need throughout the country. However, that changed when it became

28 clear that what CureIS had once thought were one-off instances of friction with Epic were in fact

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 1 part of a widespread scheme by Epic to improperly interfere with CureIS’s business, as well as that

 2 of other providers of MCM software, in violation of the Cures Act.

 3            7.    Epic did so through a variety of acts. For example, Epic recently imposed an “Epic-

 4 first Policy,” whereby any entity utilizing Epic’s EHR or CAPS software must use Epic’s versions

 5 of other products, if it has a version of the product in question. But Epic also insists that its EHR or

 6 CAPS customers not use products like MCM software, even if Epic does not have a functioning or

 7 equivalent-in-quality version of that software. It will typically do so by first misrepresenting to

 8 customers that it either has plans to roll out a version of a competitor’s product soon, or that Epic

 9 has a current product that replicates the functionality of a competitor’s product, even though Epic’s

10 products are typically of much lower quality. But these representations are false and, in any event,

11 even if a customer wants to use a third party’s MCM software (like CureIS’s software), Epic will

12 not allow them to do so. These tactics prevent Epic’s EHR and CAPS customers from utilizing third

13 parties’ products in general, regardless of their preference.

14            8.    This is not the extent of Epic’s wrongful conduct. Among other things, Epic has

15 targeted CureIS specifically by coercing mutual customers to terminate their relationships with

16 CureIS, denying CureIS’s customers access to their own data for the purpose of harming CureIS,

17 degrading the quality of CureIS products to stifle competition, falsely disparaging CureIS to

18 CureIS’s current and prospective customers, and engaging in widespread false advertising. CureIS

19 is capable and happy to compete on a level playing field, because it offers superior products and

20 service. But Epic has chosen to compete unfairly using illegal tactics, to the detriment of CureIS

21 and patients nationwide.

22            9.    The “why” behind Epic’s misconduct is clear. Epic is nearing the saturation point in

23 EHR software and needs to identify new areas for growth. On the back of its EHR dominance, Epic

24 has grown into a company reportedly worth more than $45 billion. But that is not enough for Epic,

25 because the healthcare industry is large and involves multiple different product markets. In this

26 particular case, payer administration platforms or CAPS more broadly—and provider-sponsored
27 health plan CAPS software, specifically—is an area where Epic is growing extremely fast and, if

28 left unchecked, will soon dominate in the exact same way it dominates EHR software. By wielding

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 1 its power to destroy healthcare technology innovators—particularly those in the MCM software

 2 space, like CureIS—Epic is feeding its need for more and more cash so that it can obtain monopoly

 3 power in yet another market, even if it means depriving those in the most need of the best possible

 4 options for healthcare services. This stranglehold enables Epic to eliminate perceived competitors

 5 and insulate itself from market-driven incentives to improve or innovate its own products,

 6 permanently lowering the bar for everyone. The cycle of stagnation caused by Epic’s unfair and

 7 illegal conduct hits managed care organizations particularly hard, because they must make do with

 8 the least resources, but are still forced by Epic to pay bloated fees in exchange for mediocrity and

 9 ineptitude from Epic’s products and services.1

10            10.   CureIS cannot allow that rapacious conduct to continue, and therefore brings this

11 lawsuit to stop Epic from engaging in further wrongful behavior. Epic’s ongoing actions constitute

12 anticompetitive, tortious, unfair, and unlawful conduct, and have injured CureIS by depriving it of

13 customers, revenue, and market opportunities. And it has injured the market and the public at large

14 by depriving them of products, services, and prices that would result from fair and honest

15 competition. Epic’s conduct must be stopped and it must compensate CureIS for the harm it has

16 caused.

17                                           THE PARTIES

18           A.     Plaintiff

19            11.   Plaintiff CureIS Healthcare, Inc. is a privately held corporation organized and

20 existing under the laws of Minnesota, with principal places of business at 670 Commerce Drive,

21 Suite 200, Woodbury, Minnesota 55125 and 1640 East River Road, Suite 208 Tucson, AZ 85718.

22           B.     Defendant

23            12.   Defendant Epic Systems Corporation (“Epic”) is a privately held corporation

24 organized and existing under the laws of the State of Wisconsin with its principal place of business

25

26
           1
              A managed care organization (“MCO”) is a health insurance plan that contracts with
27 healthcare providers and medical facilities to provide care at reduced costs. MCOs emphasize

28 cost-efficiency, preventive care, and coordination of services. Common types include HMOs,
   PPOs, and POSs.
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 1 at 1979 Milky Way, Verona, Wisconsin 53593. Epic operates nationwide and conducts substantial

 2 business in the Northern District of California.

 3                                    JURISDICTION AND VENUE

 4            13.   This Court has personal jurisdiction over Epic pursuant to Federal Rule of Civil

 5 Procedure 4(h)(1)(A) and the California long-arm statute because (a) Epic transacts substantial

 6 business in this District; and (b) Epic directed the tortious, and otherwise illegal conduct from which

 7 these claims arise toward this district, where CureIS’s customer,                 resides.

 8            14.   This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332 because

 9 the amount in controversy exceeds $75,000 and this action is between citizens of different

10 jurisdictions. Epic is a citizen of Wisconsin. CureIS is a citizen of Minnesota and Arizona.

11            15.   This Court also has subject matter jurisdiction under 28 U.S.C. §§ 1337 and 1331, as

12 this action arises in part under the Sherman Act, 15 U.S.C. §§ 1, 2 and the Lanham Act, 15 U.S.C.

13 § 1125(a).

14            16.   Venue is proper under 28 U.S.C. § 1391(b)(2) because Epic is an entity subject to

15 this Court’s jurisdiction and a substantial part of the events or omissions giving rise to the claims

16 and affecting interstate commerce occurred in this judicial District, where CureIS’s customer,

17          resides.

18                                     FACTUAL ALLEGATIONS

19            17.   Healthcare in the U.S. has historically operated on a fee-for-service payment model.

20 Under a fee-for-service model, healthcare providers are paid for each service they provide, and are

21 accordingly rewarded for the volume of services, as opposed to the results. Over the last 20 years,

22 there has been a growing concern that fee-for-service healthcare in the U.S. contributes to rising

23 healthcare costs. Healthcare in the U.S. costs significantly more per capita than it does in other

24 countries. As of 2023, the cost of healthcare in the U.S. was about $12,555 per capita, whereas the

25 comparable average in other developed countries was just $6,651. In response, the federal

26 government has turned to legislation and regulation to shift the U.S. towards a value-based care
27 payment model. The Centers for Medicare & Medicaid Services (“CMS”) has led this development

28 by testing several voluntary and mandatory programs with hospitals, physician groups, health plans,

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 1 and other health care entities. These programs include groups of providers referred to as accountable

 2 care organizations (“ACOs”) and managed care organizations (“MCOs”) serving Medicaid

 3 members. Approximately 75% of all Medicaid beneficiaries are enrolled in MCOs. MCOs receive

 4 reimbursement from the government on a risk basis, which incentivizes these providers to keep

 5 patients healthy in order to keep costs down.

 6            18.   145 million Americans depend on some form of public health insurance (e.g.,

 7 Medicare, Medicaid, and CHIP). However, MCOs, especially those serving government programs

 8 like Medicare and Medicaid, have historically been underserved by healthcare technology

 9 companies due to the sector’s exceptional complexity, regulatory burdens, and frequent changes.

10 Most mainstream healthcare IT vendors focus on larger, more profitable segments, leaving MCOs

11 to rely on outdated systems and manual workarounds. These MCOs therefore face constant

12 challenges such as maintaining compliance with evolving regulations, ensuring data integrity across

13 disparate sources, and managing intricate enrollment, claims, and reimbursement processes. The

14 lack of tailored, automated solutions has led to inefficiencies, increased operational costs, and

15 heightened risk of penalties or sanctions for non-compliance. All of this prevents MCOs from

16 delivering high-quality, cost-effective care.

17            19.   CureIS recognized this gap and developed technology and managed services

18 specifically for government managed care programs. Unlike generic, off-the-shelf software that

19 struggles to adapt to the specialized workflows and compliance requirements of MCOs, CureIS’s

20 solutions are specifically designed to automate and optimize every aspect of managed care

21 operations from enrollment and eligibility determination to claims adjudication and advanced

22 analytics. Unlike products designed for providers, CureIS designs products to respond to the unique

23 and important needs of organizations financially responsible for this care.

24            20.   Today, CureIS offers, among other things: (a) optimization and automation of claims

25 adjudication, (b) enrollment and eligibility management, (c) revenue cycle tools, (d) encounters

26 reporting and government compliance services, and (d) data scrubbing and analytics. These are
27 products in the Managed Care Middleware market, the definition and boundaries of which are

28 discussed in further detail below. In order to understand what these products do and how they fit

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 1 into the healthcare industry—and to understand Epic’s role in all of this—CureIS first provides

 2 background on the various products (and product markets) at issue in this dispute.

 3          A.      Electronic Health Records (EHR): The Source of Epic’s Wide-Ranging Power
                    in the Healthcare Industry
 4
              21.   Epic’s core product is a proprietary electronic health record software (“EHR
 5
     software”) platform. An Electronic Health Record (“EHR”) is an electronic version of a patient’s
 6
     medical history that may include some or all of the key administrative clinical data relevant to that
 7
     person’s care. For the reasons discussed below, EHR software is a relevant antitrust market.
 8
              22.   EHR software allows healthcare providers to add, update, maintain, and delete
 9
     patient EHR data. EHR software also facilitates the storage, management, and dissemination of EHR
10
     data. Most EHR software also enables providers to manage clinical workflows, billing, scheduling,
11
     and other administrative operations required for the provision of healthcare.
12
              23.   Customers of EHR software exhibit unique pricing sensitivities and demand
13
     characteristics compared to users of other types of software. EHR software has tremendous upfront
14
     costs. Epic’s onboarding and implementation typically costs, on average, about $700 million. IT
15
     personnel at Epic’s customers are required to undergo months and years of certifications for each
16
     Epic module, including in-person trainings and in-person proctored exams, which they must pass to
17
     use Epic’s software.
18
              24.   There are no reasonably interchangeable substitutes for EHR software. EHR
19
     software must comply with stringent regulations like HIPAA and HITECH, which are frequently
20
     updated. These requirements demand significant investment in security, privacy, and
21
     documentation. Additionally, switching EHR Systems (or switching to non-electronic health records
22
     systems) can disrupt providers’ operations and delivery of care and require retraining, risking data
23
     loss or reduced productivity.
24
              25.   As a result, a hypothetical monopolist of EHR software could profitably impose a
25
     small but significant non-transitory increase in price (“SSNIP”) or degradation in product quality
26
     because EHR software users would not switch to alternative products in sufficient numbers to render
27
     the price increase or product degradation unprofitable.
28

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 1              26.   The geographic scope of the EHR software market is limited to the United States.

 2 All relevant participants in the healthcare market, including health insurers and Payers, are based

 3 within the U.S., and EHR software is specifically designed to comply with U.S. regulations.

 4              27.   Epic manages more than 325 million patient records, with at least $813 billion in

 5 healthcare expenditures processed through Epic in 2023. Epic generates approximately $5 billion in

 6 revenue annually. Over 60% of health systems and academic medical systems use Epic EHR

 7 software, including every health system on U.S. News & World Report’s best hospitals list. And

 8 over 90% of the country’s medical students train on Epic’s EHR software systems. In the U.S.,

 9 somewhere between 81-94% of patients have at least one medical record stored in an Epic EHR

10 software system. As a result, retrieving almost any patient’s full medical history requires interacting

11 with Epic in some manner.

12              28.   Epic also has a durable monopoly. Epic gained 79% of new hospital EHR deals

13 between 2017 and 2022, while no other competitors made even a net gain of beds during that same

14 period.2 Epic’s only large competitor in the EHR software market, Cerner, continues to lose hospital

15 clients to Epic. While Epic grew its market share by approximately 8% between 2020 and 2023,

16 Cerner’s market share declined by approximately 3% during the same period.3

17              29.   Epic’s market power is reinforced by overwhelming lock-in effects of its EHR

18 software. Epic installation involves sums of nine- or ten-figure investments, with over two-thirds of

19 this cost attributable to upfront fees alone.4 Because transitioning to Epic’s EHR software can take

20 many months to several years to fully complete, healthcare organizations are virtually prohibited

21 from switching EHR software vendors after moving to Epic. As one source described, “Epic knows

22 switching costs are too high to move to another vendor, as there are large-scale losses in

23

24
            2
                Seth Joseph, Epic’s Antitrust Paradox: Who Should Control the Levers of Healthcare
     Innovation?, Forbes (Feb. 26, 2024), https://www.forbes.com/sites/sethjoseph/2024/02/26/epics-
25   antitrust-paradox-who-should-control-the-levers-of-healthcare-innovation/.
             3
                Rohan Kulkarni, Oracle Must Stop Kicking the Cerner Can Down the Road—It’s Time
26   to Get Decisive, HFS Research (Jan. 14, 2025), https://www.hfsresearch.com/research/oracle-
     kicking-cerner-decisive.
27           4
                Implications of an emerging EHR monoculture for hospitals and healthcare systems,
28   Ross Koppel and Christoph Lehmann, Journal of the American Medical Informatics Association
     Vol. 22, Issue 2 (March 2015), https://academic.oup.com/jamia/article/22/2/465/695841.
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 1 productivity, time spent, and resources in changing behavior and moving to a computerized EHR

 2 system in the first place.”5

 3              30.   In addition to the lock-in effects and high switching costs, potential competitors in

 4 the EHR software market face other significant barriers to entry. First, developing EHR software

 5 demands substantial investment and specialized technical expertise to meet the stringent compliance

 6 requirements of the highly regulated healthcare industry. Second, incumbents benefit from powerful

 7 network effects, where the scale achieved by an existing EHR software provider (e.g., Epic) creates

 8 a formidable barrier to entry. As more hospital and provider customers join Epic’s EHR, the value

 9 of Epic’s EHR increases in step with the need for Epic interoperability.

10              31.   Epic’s monopoly over EHR software and patient data, combined with predatory

11 tactics and unfair competition, has entrenched its dominance in that market while harming

12 competitors, innovation, and thereby harming consumers and increasing healthcare costs.

13          B.        Epic’s Tapestry: Dominating CAPS for Provider-Sponsored Health Plans

14              32.   In addition to dominating EHR software, Epic also is currently the largest player in

15 the U.S. market for Core Administrative Processing Systems (“CAPS”) for provider-sponsored

16 health plans (“PSHPs”), which allow healthcare payers to evaluate and process healthcare claims.

17 It is distinct from other types of billing operations management software outside the healthcare space

18 because of the unique needs and requirements for their billing operations, which are governed by a

19 variety of federal and state laws. CAPS software is also distinct from EHR software because the two

20 categories have different purposes and uses, as well as different customer bases. Whereas EHR

21 software generates and stores medical records and bills, CAPS software is used to properly process

22 those bills by applying contractual terms, coverage rules, and regulatory standards to determine what

23 should be paid, denied, or flagged. Whereas the customer base for EHR software is made up of

24 hospitals and other healthcare providers who need to generate medical records, the customer base

25

26
27
            5
28              Epic EHR Systems: The Role of Network Effects, Harvard Business School,
     https://digital.hbs.edu/platform-digit/submission/epic-ehr-systems-the-role-of-network-effects/.
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 1 for CAPS software is made up of the payers of that healthcare.6 Put simply, EHR and CAPS software

 2 have different purposes and a user of one would not switch to the other at all if the price for the

 3 software the customer was using went up substantially (or the functionality substantially

 4 deteriorated). For these reasons, it is unsurprising that industry analysts recognize CAPS software

 5 as its own product market.7

 6              33.   Within CAPS software generally, however, a narrower product market exists for

 7 CAPS software for PSHPs. CAPS software for PSHPs is a specialized form of CAPS software

 8 tailored to the specific needs of PSHPs which have unique administrative requirements as risk-

 9 bearing provider organizations, which own and operate their own insurance plans and need

10 specialized CAPS software to integrate clinical and administrative data, streamline operations, and

11 support value-based care models. For example, many of the reporting requirements imposed on

12 PSHPs are not required for other healthcare organizations (including other payers), and those reports

13 are required to be prepared in specific file formats. This is due to stringent rules and regulations at

14 the federal and state levels, including HIPAA, HITECH, the No Surprises Act, Centers for Medicare

15 & Medicaid (“CMS”) Guidelines, and the Council for Affordable Quality Healthcare’s (CAQH)

16 Committee on Operating Rules for Information Exchange (CORE) operating rules. These

17 requirements demand a significant investment in security, privacy, documentation, and compliance.

18 CAPS software for PSHPs must also account for delegated risk arrangements and capitation carve-

19 outs, requiring complex logic to split financial responsibility between payers and provider entities.

20 PSHPs are unique from other managed care organizations insofar as they integrate insurance and

21 care delivery and unlike other payers or providers, PSHPs assume both clinical and financial risk.

22 As such, CAPS software for PSHPs requires robust data integration to identify care gaps and support

23

24          6
                There is a hybrid category of payer called a “pay-vider” that both provides healthcare
25   and pays for that and other healthcare. Pay-viders will use EHR software for the provider side of
     their business (or work with entities that utilize EHR software for that purpose), and CAPS
26   software for the payer side of their business.
             7
               Revenue Cycle Management Market Size, Share & Trends Analysis Report by Product
27   (Software, Services), by Type (Integrated, Standalone), by Delivery Mode, by End Use, by
28   Region, and Segment Forecasts, 2025–2030, Grand View Research (May 2025),
     https://www.grandviewresearch.com/industry-analysis/revenue-cycle-management-rcm-market
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 1 value-based care models. Due to the administrative complexity of CAPS software for PSHPs, these

 2 specialized workflows are not supported by generalized adjudication platforms. The cost and

 3 complexity of tailoring a general platform to these requirements render substitution infeasible for

 4 most PSHPs. CAPS software products for PSHPs must also mold EHR and billing data into highly

 5 specific file formats, particularly for any information provided to government entities, such that

 6 switching can disrupt payers’ operations and demand large labor commitments to remedy errors in

 7 claim adjudication workflows. Indeed, Epic itself has recognized the distinct market for CAPS

 8 software designed for PSHPs, stating in its Tapestry documentation that it is a separate “managed

 9 care product” for “use by our organizations that provide a health plan for their patients.” 8 PSHPs

10 have unique and specialized CAPS software and PSHPs exhibit unique pricing sensitivities and

11 demand characteristics compared to users of other types of CAPS software. Consequently, a

12 hypothetical monopolist of PSHP CAPS software could impose a SSNIP or reduce the quality of its

13 CAPS software without losing sufficient customers to alternative products (due to high switching

14 costs) to make raising prices above competitive levels or offering sub-optimal products unprofitable.

15 Users of Epic’s CAPS software, Tapestry, face high switching costs because these platforms are

16 deeply embedded in providers’ billing and administrative operations, making transition disruptive

17 and expensive. Migrating to a new CAPS system requires substantial investment in data conversion,

18 staff retraining, and process reengineering, creating significant financial and operational barriers.

19 However, as discussed below, MCM software substantially reduces several of these switching costs.

20              34.   The geographic scope of the CAPS software market is limited to the United States.

21 All relevant participants in CAPS software market are based within the U.S. because CAPS

22 solutions must be tailored to the unique and complex regulatory, reimbursement, and payer systems

23 that are specific to U.S. healthcare, including specific coding standards, claims submissions

24

25

26
            Managed Care, Epic Systems Corporation, https://open.epic.com/Financial/
            8
   ManagedCare           (“Managed Care. Epic provides a managed care product - Tapestry - for
27
   use by our organizations that provide a health plan for their patients. Their managed population
28 may also be seen outside of their organization. These interfaces are specifically used when Epic's
   managed care software is in use.”).
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 1 protocols, and evolving reimbursement guidelines. Solutions developed for other regions are not

 2 reasonable substitutes for U.S.-focused CAPS software.

 3               35.   Industry reports recognize Epic as a “Key Compan[y]” in the broader CAPS software

 4 market.9 Epic’s PSHP CAPS software product, Tapestry, has market share that some estimates put

 5 as high as 76%.10 Epic’s Tapestry market share continues to grow. Tapestry’s competitors include

 6 Cognizant Facets & QNXT, HealthEdge Health Rules Payer, Plexis, and Oracle IDX FRM.11 This

 7 explains why Tapestry’s market share continues to grow in the PSHPs CAPS software market, as

 8 Tapestry’s functionality is specifically tailored to the needs of PSHPs.

 9          C.         Managed Care Middleware: Breaking Silos, Unlocking Competition

10               36.   CureIS operates in a distinct and essential segment of the managed care ecosystem:
11 the managed care middleware market. MCM software serves risk-bearing entities such as

12 Independent Physician Associations (“IPAs”), Medicare Advantage Organizations (“MAOs”),

13 Accountable Care Organizations (“ACOs”), and other MCOs. These organizations bear financial

14 risk for patient populations and require sophisticated tools to reconcile clinical, claims, and quality

15 data across disparate systems. MCM software therefore provides functionality that both providers’

16 EHR and payers’ CAPS software does not, including risk analytics, data scrubbing and validation,

17 compliance management, and care coordination.

18               37.   MCM software sits between EHR software and CAPS software. It functions as
19 middleware—an orchestration and translation layer—bringing together data from multiple sources,

20

21          9
             Revenue Cycle Management Market Size, Share & Trends, Grand View Research,
22 https://www.grandviewresearch.com/industry-analysis/revenue-cycle-management-rcm-market.

23           There are a total of 282 Medicaid MCOs in the United States. See “Total Medicaid
            10
   MCOs,” Kaiser Family Foundation State Health Facts (last visited July 10, 2025),
24 https://www.kff.org/medicaid/state-indicator/total-medicaid-mcos/. Online sources indicate that
   Epic’s CAPS software product for Managed Care Organizations, Tapestry, has 196 customers. See
25 “Epic Tapestry,” Enlyft (last visited July 10, 2025), https://enlyft.com/tech/products/epic-tapestry.

26          11
              For example, AthenaIDX describes its CAPS software as a “solution that guides health
   systems, hospitals, large ambulatory groups, and Billing Services to optimize financial
27 performance and successfully adapt to healthcare payment reform.”

28

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 1 including, for example, EHRs, claims feeds, labs, and social determinants of health (“SDOH”).

 2 MCM software then normalizes and harmonizes this data, enabling actionable workflows to support

 3 care gap closures, compliance with CMS performance metrics (such as STARS and HEDIS), and

 4 better coordination between providers and payers. MCM tools are neutral and vendor-agnostic,

 5 making them indispensable to the effective administration of value-based care and also effective as

 6 a middleware layer enhancing interoperability and making it possible to switch between different

 7 data formats and software systems (e.g., different EHR and CAPS software providers).

 8            38.   MCM software—and, in particular, CureIS’s products—are uniquely tailored for

 9 managed care by ensuring MCOs have accurate and up-to-date data that complies with the

10 constantly changing, countless sets of rules and regulations applicable to them. This includes

11 ensuring accuracy of and compliance with member enrollment and eligibility information, claims

12 encounter information submitted to government entities, or bills sent to members or payments to

13 providers. MCM software functions as middleware in the managed care value chain, which provides

14 the infrastructure and logic to enable value based care, including: (a) aggregating data from multiple

15 EHRs, claim sources, labs, and SDOHs, (b) normalizing and interpreting clinical claims data for

16 population level analysis, (c) delivering workflows and reports to close care gaps, (d) optimizing

17 CMS performance, and (e) supporting coordination between providers’ interaction-level raw data

18 and a payers’ CAPS software.

19            39.   CureIS’s MCM software products include EnrollmentCURE, EncounterCURE,

20 RecoveryCURE, and LettersCURE (discussed further below). This software provides unique

21 functionality that MCOs cannot replicate using just EHR or CAPS software alone. MCM software

22 is unique in that it enables MCOs to access clinical and billing data, automate payer-facing

23 processes, and support compliance with regulatory and contractual requirements. They do so by

24 scrubbing, re-formatting, and reconciling various data sources to transform error-prone, opaque, and

25 unusable data into portable, fully interoperable, readable, and analyzable data optimized for each

26 customer’s particular needs.
27            40.   What is apparently most concerning for Epic in the competitive sense is that MCM

28 software also empowers customers to independently manage their own data, such as the information

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 1 they generate through use of EHR and/or CAPS software. MCM software thus provides MCO

 2 customers a tool by which to disintermediate their own systems and data from Epic’s control of

 3 patient and billing data. By doing so, MCM software makes billing (EHR) and claims processing

 4 (CAPS) software solutions less “sticky” (i.e., reduces switching costs between EHR and CAPS

 5 software solutions) and therefore requires provider billing (EHR) and payer CAPS software

 6 providers to compete more with each other as a result.

 7               41.   Critically, MCM software relies on an MCO’s ability to feed EHR and CAPS data

 8 into the MCM software. MCO customers feed this data into their MCM software, which then applies

 9 ever-changing business logic and rules to the data to perform advanced data reconciliation across

10 disparate sources, verify data accuracy through cross-referencing with other records, identify and

11 close information gaps, or apply dynamic, customized business logic to automate complex manual

12 workflows on a continuous basis. Cleaning, scrubbing, validating, and reconciling disparate data

13 sources ensures payers are not incorrectly or inaccurately billing for members’ care. Epic’s products

14 do not perform these functions.12

15               42.   Prior to the development of MCM software, payers required large teams of billers to

16 remedy errors in EHR and CAPS data, manually input member information, and review claim

17 denials for data quality or compliance issues and fix repeat errors over and over again. But with

18 MCM software, payers can now drastically reduce the number of errors generated by EHR software

19 and received by CAPS software (and vice versa), and accordingly can drastically reduce the amount

20 of manual intervention required by billers. Accordingly, MCM software costs much less than

21 traditional manual billing services and has unique demand from such traditional services as a result.

22 It also dramatically improves MCOs’ business flow, thereby improving coverage outcomes for plan

23 participants and improving healthcare overall.

24

25

26          12
               For example, MCM software may review those enrollment records on a daily basis and
   determine whether or not the enrollment information in a Payer’s CAPS software platform is up-
27 to-date. To illustrate, if a member drops out of the health plan and seeks care the next day, MCM

28 software would ensure that the Payer does not inadvertently treat that member as covered under
   the health plan. CAPS software, by itself, does not include that functionality.
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 1            43.   As a result of the unique demand MCM software generates, there are no reasonably

 2 interchangeable substitutes. CAPS software does not provide comparable functionality, and

 3 customers recognize that CAPS software is not a substitute for MCM software. Indeed, the only

 4 customers for MCM software are MCOs that already have CAPS software, indicating that MCM

 5 software is complementary to—not interchangeable with—CAPS software. Because of this and the

 6 other facts cited above, a hypothetical monopolist of MCM software can profitably implement a

 7 SSNIP or product degradation because MCM software customers would not switch to other types

 8 of products—e.g., CAPS software alone, or expensive and slow manual contract biller services—in

 9 sufficient numbers to make the SSNIP or degradation in product quality unprofitable.

10            44.   The geographic scope of the MCM market is the United States. The United States, at

11 both the federal and state level, has a unique regulatory scheme that controls how payers operate

12 and run their business. Furthermore, payers are United States citizens and residents, and are

13 therefore located within the United States. Providers of MCM software are also located within the

14 United States.

15            45.   CureIS was one of the first in the nation to provide MCM software and, historically,

16 the only other competitive products of which it was aware were in-house software developed on an

17 ad hoc basis by payers’ IT teams. However, a growing number of healthcare IT companies are

18 developing products in the MCM software space. Some of these competitors include DataWing

19 (acquired by Citra Health Solutions), Edifecs (recently acquired by Cotivi), and Gaine. While Epic

20 claims to compete with CureIS’s MCM software products, Epic’s products do not offer the MCM

21 software functionality and to the extent they provide functionality reminiscent of MCM software,

22 they are extremely limited and starkly inferior to real MCM software offerings, as reported by

23 CureIS’s customers. Epic’s products also thwart interoperability (by design). Epic’s false claims to

24 provide MCM software aside, Epic has indicated that it plans to enter the market in the near future

25 (discussed further below).

26                                       CUREIS’S PRODUCTS
27            46.   As briefly discussed above, unlike larger, less technically sophisticated competitors,

28 CureIS was founded to address the chronic problems of manual data handling, error-prone legacy

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 1 processes, and regulatory complexity that most vendors avoid due to the sector’s demanding

 2 requirements. What sets CureIS apart is its Managed Care Master Data Model, which routinely and

 3 proactively updates its products through a complex web of automated business logic rules. CureIS

 4 on average makes a change to these logic rules every 24 hours. These changes can be the result of a

 5 file format change put in place by a trading partner (e.g., an insurance carrier), or based on a

 6 suggestion from a customer seeking to make its billing processes more efficient. These logic rule

 7 changes are then reviewed by CureIS personnel and tested rigorously before being implemented at

 8 any given customer.

 9            47.   Because CureIS is a nimble solution, unlike the underlying clunky CAPS or EHR

10 billing software, CureIS is able to turn around these changes very quickly—often the same day that

11 those changes are flagged. Further, CureIS does not charge customers for these changes. Instead,

12 they are a key feature of CureIS’s solutions that customers see as a core value that Epic’s Tapestry

13 product does not provide.

14            48.   CureIS offers several types of MCM software. These include:

15          (a) EnrollmentCURE. EnrollmentCURE is CureIS’s oldest and most popular product.

16 EnrollmentCURE was developed in the first instance for                           The product verifies

17 the enrollment information of all members in a customer’s system to ensure that all of the

18 information is accurate. It also ensures members are aligned with the proper primary care providers,

19 and that those primary care providers have accurate information regarding each member’s

20 enrollment. This information changes frequently and unexpectedly as members roll on and off

21 health plans or change their addresses, for example. Unlike traditional enrollment functions offered

22 by legacy systems, such as Tapestry, EnrollmentCURE checks for updates to member information

23 in real time so that any claims associated with those members are not erroneously denied.

24          (b) EncounterCURE. EncounterCURE is tailored primarily to government programs.

25 Medicare and many Medicaid programs require health plans to submit files commonly referred to

26 as “encounters” pursuant to their reporting requirements, such as 42 CFR § 438.602(e), which
27 requires periodic audits of encounter data. These encounters are similar to claims in that they detail

28 information about the patient’s care. In managed care plans, encounter data is crucial for monitoring

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 1 the performance of health plans and whether or not health plans are adhering to regulatory

 2 requirements. If the information contained in these encounter files is incorrect, it can result in

 3 payment denials or even sanctions by government entities. EncounterCURE uses a proprietary set

 4 of rules and cleaning functions to drastically reduce the amount of incorrect information in

 5 encounter files submitted to receive payment from state and federal agencies.

 6          (c) RecoveryCURE. RecoveryCURE helps customers recover payments for members that

 7 are on managed care plans but are subject to payment carveouts or contracts that divide financial

 8 responsibility for the member among multiple parties. In these situations, the customer health plan

 9 has typically already paid for the member’s care and has to identify the correct party to seek

10 reimbursement from. For these members, RecoveryCURE uses proprietary business rules to prepare

11 claims to recover the lost revenue, and it also tracks payments or disputes regarding claims for

12 recovery.

13          (d) LettersCURE. LettersCURE manages correspondence templates and generates

14 correspondence to Payer plan members regarding their benefits. These letters may provide notices

15 regarding, for example, pre-authorization, coverage denials, or claim appeals. The letters are

16 generated based on information contained within CAPS software platforms. While many CAPS

17 software platforms contain a basic template for letter generation, these templates need to be

18 manually checked, printed, and mailed by Payers. LettersCURE automates the generation of letters

19 with specific information required under regulations, attaches an image of the claim, and

20 automatically sends those letters to a printer.

21             49.   CureIS developed its products to sit between and work in conjunction with providers’

22 EHR billing systems like Epic’s Resolute, and payers’ claims processing software, or CAPS, like

23 Epic’s Tapestry. However, as detailed below, Epic has systematically denied CureIS access to

24 CureIS’s current and prospective customers’ EHI and billing data, making it impossible for CureIS

25 to provide these much-needed services. And for many of these customers, Epic has fraudulently

26 claimed it can provide the same services CureIS provides, when in fact it is unable to do so.
27

28

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 1            EPIC’S MULTI-PRONG SCHEME TO DESTROY CUREIS’S BUSINESS
                      SPECIFICALLY, AND MCM SOFTWARE BROADLY
 2
              50.   Although Epic continues to gain market share in the EHR software market, in order
 3
     for the estimated $45 billion company to continue its growth and dominance of the healthcare
 4
     industry, it must look to other markets than those which originally gave it so much power, and—at
 5
     least, in Epic’s eyes—it must prevent any roadblocks to dominating those additional, profitable
 6
     markets. One such market is PSHP CAPS software, in which Epic has obtained an approximately
 7
     70% share to date. Middleware-type products like MCM software reduce CAPS software
 8
     customers’ switching costs, which reduces Epic’s ability to impose on CAPS software customers
 9
     the same sort of monopoly rents and other monopolist-based requirements that it imposes in, for
10
     example, the EHR software market. Epic therefore has a powerful incentive to prevent the
11
     proliferation of MCM software and to eliminate the strongest competitors in that space; in particular,
12
     CureIS. CureIS has operated in the MCM software market for more than a decade and is well-known
13
     to those who utilize such software solutions. Accordingly, Epic has trained its sights on CureIS in
14
     particular as an impediment to Epic’s designs to dominate CAPS software (and, MCM, by
15
     extension).
16
              51.   At a certain point, Epic decided that, in its own words, CureIS was “a direct
17
     competitor” with “Tapestry Enrollment and Eligibility functionality.” As described below, Epic then
18
     set about a strategy to stonewall, disparage, and attempt to copy CureIS’s products by: (a)
19
     intentionally interfering with CureIS’s customer relationships by pressuring or coercing existing
20
     customers and business partners not to work with CureIS, (b) cutting off and blocking data access
21
     to CureIS’s current customers and preventing the onboarding of new customers, (c) disseminating
22
     false or misleading information about CureIS’s and Epic’s products, and (d) imposing an “Epic-first
23
     Policy”—an exclusive dealing that has no legitimate business justification. The following
24
     representative examples are those of which CureIS is currently aware, but Epic’s behavior reflects
25
     a broader scheme aimed at impacting CureIS’s relations with many other current and prospective
26
     customers.
27

28

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 1 fully integrates with Epic)—even though none of Epic’s current products provide the functionality

 2 of CureIS’s EnrollmentCURE or EncounterCURE products.

 3            56.     At the moment,                        is no longer paying for EnrollmentCURE, and

 4 EncounterCURE is operating in a significantly diminished state due to Epic’s ongoing obstruction.

 5 Because Epic does not allow CureIS to communicate directly with its systems to receive                    ’s

 6 EHI, EncounterCURE is being forced to work with outdated data. CureIS needs access to its

 7 customers’ data for its products to function. Epic repeatedly and on an ongoing basis stonewalls

 8 CureIS’s access (and by extension, Epic’s and CureIS’s mutual customers’ access) to vital EHR and

 9 other data, forcing CureIS’s customers to abandon integrating with CureIS’s products. Epic

10 knowingly engaged in blocking CureIS’s EHI access, exchange, or use, and no regulatory exception

11 excuses this conduct. Epic’s conduct has substantially reduced the efficacy of CureIS’s products.

12            57.     According to             its decision to discontinue its use of EnrollmentCURE was

13 induced by Epic’s false promise that it could develop a replacement product. At Epic’s direction,

14          has stopped paying for use of EnrollmentCURE. On information and belief—based on

15 multiple prior instances in which Epic promised but failed to deliver replacement products—Epic’s

16 representations to           were, and remain, false, and Epic knew they were false at the time it made

17 them.

18                    2.

19            58.                    (“         is one of the largest non-profit healthcare systems in the U.S.
20         serves over 3.5 million patients in Northern California and has over 57,000 employees.
21 operates 24 acute care hospitals and over 200 clinics.

22            59.     As one of CureIS’s first clients,          has worked with CureIS in multiple capacities
23 for more than 18 years. CureIS developed the first version of its RecoveryCURE product for

24                         (now a part of                 on         ’s IDX platform. In 2010,         decided
25 to migrate its EHR software and CAPS software platforms to Epic. Between 2010 and 2011,

26 migrated its billing and payer software from IDX to Epic and                hired an Epic consultant to help
27          migrate the RecoveryCURE product over to the Epic system. On information and belief,
28 during           ’s migration from IDX to Epic, Epic falsely represented to          that CureIS’s services

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 1 would no longer be needed once Epic was up and running. But              ’s executives understood that

 2 CureIS provided value that Epic could not replace. As a result,        decided to keep CureIS despite

 3 Epic’s attempt to oust CureIS on false pretenses.

 4             60.    Having failed to lure        by making false claims about Epic’s software, Epic

 5 resorted to more aggressive tactics. After Epic went live at           Epic refused to provide CureIS

 6 access to          ’s operational data, which CureIS and            needed for CureIS’s products to

 7 function. Epic delayed access to CureIS for several months before finally providing access at the

 8 urging of         leadership. However, Epic limited CureIS’s access to data in Epic’s Clarity product.

 9 Unlike Epic’s main datastore, Epic Chronicles, the data in Clarity is not live. Instead, the data in

10 Clarity can be on a delay anywhere from one day to over a week and provides a more limited subset

11 of data inputs and outputs. CureIS products require timely data to deliver necessary services and

12 value to customers. Despite this severe limitation on CureIS’s functionality,        chose to continue

13 using CureIS’s products because they are far superior to Epic’s (even while being choked by Epic).

14         used CureIS’s products for over fifteen years until Epic escalated even further and demanded

15 that         phase out EnrollmentCURE entirely.

16             61.   In approximately January 2025,          suddenly terminated its contract with CureIS

17 for CureIS’s EnrollmentCURE product, a product                had relied on without interruption since

18 2018.         ’s leadership told CureIS that they stopped using EnrollmentCURE because Epic falsely

19 represented that Epic’s Tapestry system provided the same functionality. By March 2025,

20 was experiencing significant issues with Epic’s purported replacement solution.          has informed

21 CureIS that it prefers using EnrollmentCURE over Epic’s solution and if Epic was not preventing

22 CureIS’s integration,          would start using EnrollmentCURE again because it is a superior (and

23 entirely distinct) product.

24             62.   Epic’s interference, which resulted in CureIS’s loss of        ’s business, inflicted

25 lasting and ongoing harm, severing a longstanding and mutually beneficial relationship—a

26 relationship from which both          and CureIS derived tremendous value.
27             63.   As a direct result of Epic’s interference—including false claims about Epic’s

28 capabilities, improper blocking of integration, and coercive mandates through the “Epic-first

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 1 LettersCURE. With Epic,              s team had to manually create every single letter that went out

 2 to members and make fixes to problems that consistently occurred with the letters.                 had

 3 addressed the need for a correspondence solution with Epic over several years and Epic had no

 4 response or fix.

 5           75.   As a result,            again, pushed                   ’s adoption of LettersCURE

 6 forward. On December 22, 2022,                       approved a project to implement LettersCURE.

 7                 approved CureIS’s budget to begin work in 2023 for the 2023-2024 fiscal year. That

 8 same day, CureIS met with                   to conduct a Contract Security Review.

 9           76.   On May 8, 2023, CureIS and                      held contract finalization meetings to

10 take LettersCURE live, after                 had verbally agreed to a contract with CureIS. On May

11 17, 2023, CureIS received a question from                       about integrating LettersCURE with

12 Tapestry. After receiving this question, contract discussions between CureIS and

13 stalled out.    Finally, on June 27, 2023,                       communicated to CureIS that the

14 LettersCURE functionality would be handled “internally.”

15           77.   It soon became clear that Epic killed the project. Epic declared to                  it

16 had serious but vague “concerns” about sharing data with CureIS. Epic induced                       to

17 cease further efforts to implement CureIS’s LettersCURE by imposing its Epic-first policy.

18           78.      According to          Epic put significant pressure on                   to kill the

19 LettersCURE project. Epic asked            if there was any other vendor she would consider working

20 with besides CureIS. Epic informed               that it had “issues” with giving CureIS access to data

21 in Epic—even though this data belongs to                     not Epic, and the law prohibits Epic from

22 blocking the sharing of                 s EHI.

23           79.   After Epic killed CureIS’s LettersCURE contract by threatening to impose (illegal)

24 data restrictions, CureIS and                    did not work together for over a year. However,

25                 reengaged CureIS in August 2024 following a large data breach at Change Health in

26 February 2024. Change Health is owned by UnitedHealth Group, and its system is the source of
27 UnitedHealth member enrollment information.                       was concerned that interacting with

28 Change Health after the data breach would expose their systems to potential breaches as well. On

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 1 business. During the course of CureIS’s discussions with                         Mr.

 2 informed CureIS that Epic did not have a solution like RecoveryCURE.

 3            84.   In a surprising about face after months of productive discussions, on June 17, 2024

 4                   informed CureIS that they could not work with CureIS because Epic imposed on

 5 them an “Epic-first” policy. On information and belief, under the Epic-first policy, once a customer

 6 adopts Epic’s EHR software or CAPS software, Epic requires that customer to abandon any

 7 preexisting third-party tools and forgo exploring non-Epic solutions at any point in the future if Epic

 8 believes it has a tool or service that overlaps with the third party’s option—even if such third-party

 9 solutions offer superior functionality or are better tailored to the customer’s unique needs. And in

10 cases like this one, where Epic does not currently offer a tool that meets the customer’s requirements,

11 the Epic-first policy prevents customers from turning to necessary third-party alternatives like

12 CureIS. These customers must simply go without for however long it takes Epic to build its

13 replacement solution, which, as in this case, could take years (or never happen).

14            85.   Epic’s Epic-first policy excludes rivals like CureIS from competing on the merits,

15 regardless of whether they offer better, more specialized, or more innovative products, stifling

16 innovation and further concentrating the EHR and CAPS software markets. Epic’s exclusivity

17 arrangement with its customers substantially forecloses CureIS, and all companies that Epic labels

18 as competitors (or future competitors), from reaching a critical mass of managed care organizations

19 that exhibit demand for CureIS products. The anticompetitive effect of the Epic-first policy extends

20 beyond the MCM software market to a staggering 323 related or vertically integrated product

21 markets. See infra ¶ 98.

22            86.   There is no procompetitive purpose to Epic’s information blocking. As mentioned

23 previously, in 2016, Congress enacted the Cures Act, which is a federal law designed to, inter alia,

24 accelerate medical product development and improve healthcare information access. As most

25 relevant to this case, it ensures the free flow of patients’ health information and interoperability

26 between different systems and products, so that (among other things) a company cannot establish
27 itself as a bottleneck for EHI, thereby increasing healthcare costs and increasing the sorts of

28 inefficiencies the Cures Act sought to remedy.

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 1            87.   Among the Act’s requirements are that healthcare IT developers (like Epic) cannot

 2 engage in “information blocking” of EHI. 42 U.S.C. § 300jj–52(a)(1); see also 45 C.F.R.

 3 § 171.103(a)(1) (defining practices that constitute information blocking by health IT developers).

 4 Similarly, entities like Epic also must certify and then ensure that they do not “inhibit the appropriate

 5 exchange, access, and use of electronic health information.” 42 U.S.C. § 300jj-11(c)(5)(D)(ii). Nor

 6 can they prohibit or restrict communication regarding the usability or interoperability of health

 7 information technology. 42 U.S.C. § 300jj-11(c)(5)(D)(iii). And they must publish application

 8 programming interfaces (“APIs”) that “allow[] health information from such technology to be

 9 accessed, exchanged, and used without special effort” through the API. 42 U.S.C. § 300jj-

10 11(c)(5)(D)(iv).

11            88.   Epic’s campaign against CureIS and MCM software in general violates each of these

12 precepts and, thus, undercuts the competitive playing field Congress established via the Cures Act.

13 As discussed herein, Epic has blocked information (and continues to do so) by refusing to allow

14 MCOs using Epic CAPS software to use CureIS products to access and utilize customer-authorized

15 EHI. It has inhibited the appropriate exchange, access, and use of EHI. It has prohibited and

16 restricted communications regarding the usability and interoperability of health information

17 technology. It has not allowed use of APIs meant for the purposes of accessing, exchanging, and

18 using EHI “without special effort.”

19            89.   In short, Epic has engaged in a wide-ranging and systematic pattern of practices

20 designed to prevent the effective exchange of EHI—all because of its anticompetitive, tortious,

21 unlawful, and unfair designs. Epic requires CureIS and its customers to navigate unnecessarily

22 complex data architectures, forcing them to extract data through multiple layers rather than

23 providing direct access to complete datasets. Critical information such as referral data and provider

24 notes remain trapped in unstructured fields that Epic refuses to make accessible through its

25 environment, despite this information being essential for accurate claims processing. Even when

26 Epic does provide data access, it supplies delayed information that can result in unnecessary claim
27 denials. On top of all of these illegal measures, Epic simply mandates that customers using its

28 software not use any MCM software.

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 1            94.   Epic’s false statements are not susceptible to neutralization. In healthcare IT markets,

 2 data-security claims are particularly difficult for customers to verify independently. The complex,

 3 specialized nature of managed care enrollment and eligibility systems prevents customers from

 4 easily assessing the accuracy of Epic’s disparaging statements about CureIS’s products. Without

 5 access to the necessary infrastructure (which Epic improperly blocks), CureIS cannot effectively

 6 showcase its solutions or prove they do not pose the security concerns Epic alleges. Further, and as

 7 discussed, the timing of Epic’s disparaging statements, during critical customer transition periods,

 8 was calculated to exact the most harm and most effectively prevent customers from pushing back.

 9 By the time CureIS discovered Epic’s misrepresentations, customers had already implemented

10 irreversible decisions based on Epic’s falsehoods. And Epic knows this.

11            95.   False claims about data security in healthcare settings create lasting reputational

12 damage that persist even after factual corrections. When Epic tells CureIS’s customers it is

13 “uncomfortable” integrating with CureIS—especially during critical system transitions—such

14 insinuations carry significant weight in a highly regulated, risk-averse industry where hospital IT

15 departments tend to follow the lead of the large majority of hospitals (including all of the top-ranked

16 hospitals) using Epic.

17            96.   Epic’s statements were intended to and did cause harm to CureIS’s business. For

18 example, in or around June 2023, Epic knowingly induced                            to cease onboarding

19 CureIS’s LettersCURE product by claiming it had serious “concerns” about sharing data with

20 CureIS.       At the end of 2023, Epic also expressed vague concerns about integrating with

21 EnrollmentCURE to the IT department at                    Health. Thereafter,             terminated its

22 contract with CureIS.

23          C.      Epic’s Acts Against CureIS Are Part Of A Broader Attempt To Dominate
                    PSHP CAPS Software And Take Over Nearly Every Part Of The Healthcare
24                  Information Technology Industry
25            97.   Epic is unabashed about its goal to use its role as industry gatekeeper for third-party
26 developers of EHR-integrated solutions as a tool for ever more dominance. As noted above, Epic is
27 executing its strategic expansion beyond its core EHR and billing functions into multiple adjacent

28 and vertically related markets.

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 1            98.   As Epic notes in a brochure called “Products You Can Replace with Epic,” it urges

 2 its customers to use Epic instead of competitors for 323 related products under 21 categories,

 3 including Patient Access, Patient Digital Experience and Customer Relationship Management,

 4 Population Health, Analytics and Machine Learning, Payer Data Integration, and Enterprise Billing.

 5 Of these products, 16 are “under development,” which means they are not currently available. The

 6 brochure is meant to “identify areas where you could use your Epic software to either replace or

 7 avoid purchasing niche applications.” Recipients are instructed to “Contact your Epic BFF [“best

 8 friend forever”] to evaluate your application mix and your functionality needs to see what could be

 9 replaced with Epic.” The brochure also includes a list of capabilities Epic does not intend to develop

10 or offer in the future, “Systems You Keep for Now,” including, for example, “Mass postcard

11 generation,” “E-faxing,” and “Telephony and fax.”

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              99.   This brochure directly shows the motivation behind Epic’s attacks on CureIS and
27
     numerous other innovators and competitors, and (alongside the specific statements described above)
28

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 1 is part of Epic’s broader false advertising. Indeed, “Epic has marketed the introduction of new

 2 products, and in some cases products that don’t exist yet, for the apparent purpose and unmistakable

 3 impact of reducing market demand for competitor products.”13 But as explained herein, Epic’s

 4 representations to customers regarding its current or in-development product features are often

 5 completely false—as exemplified by its attacks on CureIS itself.

 6               100. This brochure is also direct evidence of Epic’s foreclosure strategy. The brochure

 7 defines what Epic itself considers dependent or vertically integrated product markets—markets

 8 where Epic is warning of its plans to exert its influence. In addition to coercing customers to adopt

 9 Epic’s products they do not want, Epic is coercing customers into adopting its forthcoming and

10 under-development solutions in lieu of third-party ones that already exist and outperform,

11 effectively stifling competition not because of superior product quality but because of its gatekeeper

12 control over the critical EHR infrastructure. The brochure lays bare Epic’s own view of the product

13 markets it can take control of whenever it wants by leveraging its entrenched position at the center

14 of the healthcare IT ecosystem. But, just as importantly, it also identifies the product markets it

15 views as potential threats and thus subject to its “Epic-first” requirements and coercion.

16               101. For example, to this point, although Epic has failed to deliver on a replacement

17 product to compete with CureIS, the effect of Epic’s conduct has been devastating to CureIS’s

18 business, to customers, and to the market more generally. Multiple customers terminated or

19 significantly disrupted activity under their contracts with CureIS following Epic’s interference,

20 including           ,               and                    Other potential customers declined to proceed

21 with engagements after Epic’s disparagement and obstruction.

22                         HARM TO COMPETITION & ANTITRUST INJURY

23               102. In its zeal to solidify its dominance over managed care claims processing, Epic has

24 caused widespread harm to the MCM software market (and CureIS specifically). This has, in turn,

25 led to lower output in that market, as well as lower market wide product quality. More specifically,

26
27          13
               Seth Joseph, Epic’s Antitrust Paradox: Who Should Control the Levers of Healthcare
28 Innovation?,  Forbes (Feb. 26, 2024), https://www.forbes.com/sites/sethjoseph/2024/02/26/epics-
   antitrust-paradox-who-should-control-the-levers-of-healthcare-innovation/.
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 1 fewer customers are using MCM software at all because of the Epic conduct described in this

 2 Complaint. Epic has also limited the functionality MCM software customers can use, meaning that

 3 the benefits of fully functional MCM software are often not available at all, and are becoming less

 4 and less available as Epic takes up more of the PSHP CAPS software market. Epic’s anticompetitive

 5 conduct has also led to higher prices for PSHP CAPS software because Epic’s efforts to eliminate

 6 sources of reduced switching costs leads to corresponding reductions in its need to compete on price

 7 for PSHP CAPS software. Finally, Epic’s conduct has also led to higher healthcare costs because

 8 Epic has attacked powerful ways that MCOs can reduce their own costs and increase efficiencies,

 9 thereby expanding and improving insurance coverage. This ultimately harms the patients that often

10 unknowingly benefits from MCOs’ use of MCM software.

11           103. Epic’s assault on MCM software providers represents a broader strategy to

12 systematically destroy healthcare information technology innovation by making it virtually

13 impossible for superior technologies to reach customers—and all because of Epic’s rapacious desire

14 to control virtually every product market in the healthcare IT sector. CureIS’s system-agnostic

15 products, for example, can receive data in multiple formats, clean the data, and convert such data

16 into a portable format that can be ingested into any system, enhancing interoperability between

17 EHR, CAPS, and other software applications made by different companies while reducing costs for

18 customers.

19           104. Epic recognizes that widespread adoption and continued growth of MCM software

20 would make the CAPS software market more competitive and threaten Epic’s ability to force its

21 customers to use only Epic products. Epic unilaterally cut off CureIS’s customers’ ability access

22 their own data to harm CureIS (and, on information and belief, other MCM software providers)

23 software, notwithstanding its customers’ protests. Epic’s actions were not meant for any legitimate

24 aim, but rather to ultimately displace CureIS’s and other MCM software providers’ innovations and

25 switching cost reductions.

26           105. Epic’s pattern of exclusionary conduct serves no legitimate or procompetitive
27 purpose. At bottom, by preventing its customers from using third-party products like MCM

28 software, Epic prevents them from utilizing their own data in a way that maximizes efficiencies,

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 1 reduces costs, and expands the scope of the services they offer. And Epic prevents them from doing

 2 so in order to maximize Epic’s competitive position simply because it seeks ever more growth and

 3 ever more control over the healthcare IT industry, and because it wishes to continue to extract

 4 supracompetitive prices for products that are demonstrably lower-quality and/or substantially more

 5 limited and/or unable to provide the same functionality as other companies’ offerings.

 6                                          CUREIS’S HARM

 7            106. Due to Epic’s conduct, CureIS’s revenues have declined significantly, and its growth

 8 trajectory has been stunted. CureIS has also been forced to expend significant time and resources to

 9 attempt workarounds or appeal to Epic for data access that should have been readily available when

10 their mutual customers authorized such access (not many years later, in a deteriorated inferior state,

11 or not at all).

12            107. Epic’s interference and other conduct also directly interfered with CureIS’s

13 acquisition by a major private equity firm when Epic’s interference emerged as a material concern

14 during the diligence process in summer 2024. CureIS had attracted interest from over 100 potential

15 acquirers through a competitive process and narrowed its options to approximately six serious

16 bidders. As of September 2023, CureIS received a Letter of Intent offering to buy the business for

17 a nine-figure amount. As part of that diligence, CureIS needed to disclose the reason it had lost its

18 first customer ever in over two decades of business. The reason was Epic, which was obstructing

19 the customer’s ability to access its own data to provide access to CureIS, leaving the customer with

20 no choice but cease working with CureIS. Once prospective buyers learned of Epic’s interference,

21 the sale process collapsed. Investors have since shared with CureIS that they are hesitant to invest a

22 single dollar in companies even at the fringes of “Epic’s development crosshairs.” This has

23 transformed CureIS from a rapidly growing company with approximately 20%-25% annual growth

24 into a business with 3%-5% growth, solely due to Epic’s conduct. And, on information and belief,

25 other MCM software providers have suffered (and are suffering) a similar fate.

26                            INTERSTATE TRADE AND COMMERCE
27            108. Epic’s conduct has taken place in and affected the continuous flow of interstate trade

28 and commerce of the United States, in that, inter alia:

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 1                  (a) Epic provides Tapestry throughout the United States;

 2                  (b) Epic has used instrumentalities of interstate commerce to provide Tapestry

 3 throughout the United States;

 4                  (c) In furtherance of the anticompetitive scheme alleged herein, Epic employees have

 5 traveled between states and have exchanged communications through interstate wire

 6 communications and via U.S. mail; and

 7                  (d) The anticompetitive scheme alleged herein has affected billions of dollars of

 8 commerce. Epic has inflicted antitrust injury by artificially excluding CureIS and other competitors

 9 and causing the other antitrust injuries described herein.

10                             FIRST CLAIM FOR RELIEF
                 VIOLATION OF THE SHERMAN ACT SECTION 1 (15 U.S.C. § 1):
11                               EXCLUSIVE DEALING
12             109. CureIS incorporates the foregoing paragraphs by reference as though fully set forth
13 herein.

14             110. As alleged above, Epic has market power in the EHR and PSHP CAPS software
15 markets.

16             111. As alleged above, Epic and various customers have entered into one or more
17 contracts, combinations, or conspiracies to unreasonably restrain trade, to control prices or exclude

18 competition, and to willfully acquire and maintain monopoly power for Epic in the relevant market

19 for PSHP CAPS software.

20             112. The contracts, combinations, or conspiracies include but are not limited to long-term
21 exclusive dealing arrangements with customers for its EHR and/or CAPS software product,

22 Tapestry.

23             113. As alleged above, Epic requires customers of those products to adhere to an “Epic-
24 first” policy, which prohibits those customers from utilizing non-Epic approved third-party

25 applications in at least 323 different product categories, including MCM software.

26             114. Epic’s conduct has had an anticompetitive effect in the relevant markets for PSHP
27 CAPS software and MCM software.

28             115. Epic’s conduct has no legitimate business purpose or procompetitive effect.

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 1             116. There are less restrictive alternatives to the restraints Epic imposed on the relevant

 2 markets for PSHP CAPS software and MCM software.

 3             117. Epic’s conduct has had a substantial effect on interstate commerce.

 4             118. CureIS has been and will be injured in its property as a result of Epic’s conduct.

 5             119. CureIS has suffered and will suffer injury of the type that the antitrust laws were

 6 intended to prevent. CureIS has been and will be injured by the harm to competition as a result of

 7 Epic’s conduct.

 8                             SECOND CLAIM FOR RELIEF
                  VIOLATION OF THE SHERMAN ACT SECTION 2 (15 U.S.C. § 2):
 9                             MONOPOLY MAINTENANCE
10             120. CureIS incorporates the foregoing paragraphs by reference as though fully set forth
11 herein.

12             121. As alleged above, Epic possesses monopoly power in the relevant market for PSHP
13 CAPS software.

14             122. Epic has willfully maintained its monopoly power in PSHP CAPS software through
15 exclusionary and anticompetitive conduct not based on superior product, innovation, or competition

16 on the merits, but instead, to block the use of software products (MCM software) that would reduce

17 the leverage and power Epic is able to exercise over managed care software customers, once they

18 select it as their CAPS software provider. These acts include:

19           (a) requiring customers to abide by exclusive dealing arrangements by way of an “Epic-first”
20           policy, according to which they cannot use any third-party product if Epic contends that it
21           either offers or intends to offer that type of product in the future;
22           (b) blocking CureIS’s customers’ access to their own data to prevent them from utilizing
23           third-party MCM software solutions;
24           (c) imposing technical barriers that offer EHR or CAPS customers no product
25           improvements, and/or relegating third-party vendors to non-operational, stale, incomplete,
26           and error-prone data repositories to inhibit the function or reduce the quality of their
27           products; and
28

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 1             (d) disparaging CureIS and other MCM software providers throughout the market to mutual

 2             customers and misrepresenting Epic’s product options and product qualities.

 3              123. Epic’s conduct has had an anticompetitive effect in the relevant markets for PSHP

 4 CAPS software and MCM software.

 5              124. Epic’s conduct has no legitimate business purpose or procompetitive effect.

 6              125. There are less restrictive alternatives to the restraints Epic imposed on the relevant

 7 markets for provider-sponsored health plan CAPS software and MCM software.

 8              126. Epic’s conduct has had a substantial effect on interstate commerce.

 9              127. CureIS has been and will be injured in its property as a result of Epic’s conduct.

10              128. CureIS has suffered and will suffer injury of the type that the antitrust laws were

11 intended to prevent. CureIS has been and will be injured by the harm to competition as a result of

12 Epic’s conduct.

13                                    THIRD CLAIM FOR RELIEF
                      VIOLATION OF THE SHERMAN ACT SECTION 2 (15 U.S.C. § 2):
14                                ATTEMPTED MONOPOLIZATION
                129. CureIS incorporates the foregoing paragraphs by reference as though fully set forth
15
     herein.
16
                130. Epic has engaged in predatory, exclusionary, and anticompetitive conduct as
17
     described more fully above.
18
                131. Epic has engaged in that conduct with the specific intent of monopolizing the relevant
19
     market for PSHP CAPS software because it seeks through these acts to prevent, and has prevented
20
     disintermediation—specifically, the ability of Epic’s customers to use third-party tools, like
21
     CureIS’s data-agnostic middleware, to manage workflows between EHR and CAPS systems and
22
     therefore increase their flexibility in choosing different providers’ options for each type of software
23
     (and to switch, when desired).
24
                132. Epic has engaged in that conduct with a dangerous probability of monopolizing the
25
     relevant market for PSHP CAPS software.
26
                133. Epic’s conduct has had an anticompetitive effect in the relevant markets for PSHP
27
     CAPS software and MCM software.
28

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 1              134. Epic’s conduct has no legitimate business purpose or procompetitive effect.

 2              135. There are less restrictive alternatives to the restraints Epic imposed on the relevant

 3 markets for PSHP CAPS software and MCM software.

 4              136. Epic’s conduct has had a substantial effect on interstate commerce.

 5              137. CureIS has been and will be injured in its property as a result of Epic’s conduct.

 6              138. CureIS has suffered and will suffer injury of the type that the antitrust laws were

 7 intended to prevent. CureIS has been and will be injured by the harm to competition as a result of

 8 Epic’s conduct.

 9                                FOURTH CLAIM FOR RELIEF
                            TORTIOUS INTERFERENCE WITH CONTRACT
10
                139. CureIS incorporates the foregoing paragraphs by reference as though fully set forth
11
     herein.
12
               Service Agreement Terminations
13
                140. CureIS and                      entered into a “CureIS EnrollmentCURE® Software
14
     Subscription License Agreement” on September 14, 2018. The subscription term was an initial
15
     three years, starting on January 1, 2019, with automatic renewals.
16
                141. CureIS and              entered into a Subscription Services Agreement on July 1, 2020.
17
     and an addendum on July 18, 2023.
18
                142. CureIS and              entered into a “CureIS EnrollmentCURE® Software Subscription
19
     License Agreement” on August 29, 2018, and an amendment to that agreement on August 5, 2019.
20
                143. The               ,           , and          Agreements were at all relevant times valid,
21
     binding, and enforceable contracts. Under the terms of these Agreements, CureIS’s customers
22
     agreed to pay monthly fees to CureIS in exchange for the right to use CureIS’s products.
23
                144. At all relevant times, Epic was aware of CureIS’s agreements with these customers.
24
                145.           ,           , and           terminated valid and enforceable contracts with CureIS
25
     at Epic’s direction.
26
                146.               ceased paying its monthly fees to CureIS in or around January 4, 2022,
27
     after a termination date of December 31, 2021.
28

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 1            156. Epic knowingly interfered with CureIS’s prospective business relationships with at

 2 least                                                ,              , and         CureIS had existing

 3 contracts or was in advanced negotiations with these entities for EnrollmentCURE, RecoveryCURE,

 4 LettersCURE, and/or EncounterCURE, creating a strong probability of future economic benefit,

 5 including, for example: (a)                ’s December 22, 2022 approval of a LettersCURE project

 6 and corresponding 2023–2024 budget allocation; (b)                          February 5, 2024 execution

 7 of a non-disclosure agreement for RecoveryCURE, followed by an on-site meeting on March 6,

 8 2024 and CureIS’s submission of a 40-page implementation proposal on May 22, 2024; and

 9 (c) CureIS’s contract with             to provide EnrollmentCURE, signed on September 18, 2018,

10 with             actively pursuing EnrollmentCURE integration with Epic through August 2023.

11            157. Epic was aware of CureIS’s existing and prospective economic relationships with

12 these customers, as evidenced by Epic’s explicit acknowledgement to                    ’s Healthcare IT

13 Director that CureIS was a “direct competitor with Tapestry Enrollment and Eligibility

14 functionality,” its communications with                      ’s Executive Director directing her to “not

15 go forward” with the CureIS LettersCURE contract, and Epic’s communications with

16               instructing                not to work with CureIS because of the “Epic-first policy”

17 in June 2024.

18            158. Epic’s independently wrongful acts were designed to disrupt CureIS’s economic

19 relationships: (a) Epic made numerous false and misleading statements to CureIS’s customers that

20 integrating with CureIS presented security concerns and that Epic’s products could replace CureIS’s

21 solutions with equivalent functionality, despite knowing these statements were untrue; and (b) Epic

22 wrongfully denied CureIS access to customer data that customers had expressly authorized CureIS

23 to access in violation of the 21st Century Cures Act’s prohibition on information blocking of EHI,

24 which includes enrollment and claims data containing individually identifiable health information.

25            159. As a direct result of Epic’s wrongful conduct, CureIS’s relationships with current

26 and future customers were actually disrupted: (a)                    terminated its LettersCURE project
27 on June 27, 2023, directly after Epic interfered, despite having previously approved the project and

28 budget; (b)                   abruptly reversed its decision to implement RecoveryCURE on June 17,

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 1 2024, after extensive negotiations and a detailed implementation proposal, again, after Epic

 2 interfered; (c)                 terminated CureIS’s services in 2023 after Epic denied CureIS access to

 3 necessary data; and (d)                                stopped using CureIS’s EnrollmentCURE and

 4 significantly reduced use of EncounterCURE in or around March 1, 2024 after Epic denied CureIS

 5 access to necessary data and disparaged CureIS to              . Epic intended or should have known that

 6 these disruptions were certain or substantially certain to occur as a result of its wrongful conduct.

 7             160. The loss or significant deterioration of CureIS’s business relationships with

 8             ,                    and                 would not have occurred but for Epic’s interference,

 9 as each of these organizations did not move forward with CureIS because and only because Epic

10 explicitly instructed them not to.

11             161. Epic’s wrongful acts proximately caused substantial economic harm to CureIS.

12 Because of Epic’s conduct, CureIS has suffered, and continues to suffer, damages in an amount to

13 be determined at trial.

14                                         SIXTH CLAIM FOR RELIEF
                                                TRADE LIBEL
15
               162. CureIS incorporates the foregoing paragraphs by reference as though fully set forth
16
     herein.
17
               163. Epic has intentionally made false statements to CureIS customers and prospective
18
     customers disparaging the security of CureIS’s products, including EnrollmentCURE,
19
     EncounterCURE, RecoveryCURE, and LettersCURE.
20
               164. Epic’s false statements include communicating to                      in June 2023,
21
                   in June 2024,          on or around February 2, 2023 and 2024, and            in February
22
     2023 that CureIS’s products posed security risks when interfacing with Epic’s systems and citing
23
     such concerns to block access to data when Epic knew no such risks existed. Epic knew of CureIS’s
24
     economic relationships with these customers, and knew that its false statements would disrupt these
25
     economic relationships.
26
               165. Epic’s purported security concerns were pretextual. Epic admitted to                   ’s
27
                   IT Director,                 , that the reason for denying CureIS access had nothing to do
28

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 1 with data security, but rather, because Epic viewed CureIS as “a direct competitor.” Epic made these

 2 statements with knowledge of their falsity because Epic had no basis to claim CureIS products

 3 presented any security risks. In fact, Epic was aware of its own customers seeking CureIS out

 4 because of CureIS’s data security superiority.

 5            166. CureIS has been harmed by Epic’s statements that CureIS’s products pose security

 6 risks. As a direct result of Epic’s trade libel, CureIS has suffered specific economic losses, including

 7 termination of existing contracts with                                         and           , and lost

 8 revenue from licensing fees for its EnrollmentCURE, EncounterCURE, RecoveryCURE, and

 9 LettersCURE products.

10            167. Epic acted maliciously because it knew or should have recognized that CureIS’s

11 existing and prospective customers would act in reliance on its false statements regarding CureIS,

12 and that those statements would cause CureIS financial harm.

13            168. Epic’s knowingly false statements caused both reputational and financial harm to

14 CureIS, and also injured CureIS’s existing and prospective customers by depriving them of the

15 substantial benefits and cost savings offered by CureIS’s products.

16                        SEVENTH CLAIM FOR RELIEF
      FALSE ADVERTISING IN VIOLATION OF THE LANHAM ACT, 15 U.S.C. § 1125(A)
17
              169. CureIS incorporates the foregoing paragraphs (except paragraphs 85 through 95, and
18
     paragraphs 131 through 139) by reference as though fully set forth herein.
19
              170. As alleged above, Epic has purposefully made false and misleading statements of
20
     facts through commercial statements concerning CureIS’s reputation and CureIS’s products, as well
21
     as about Epic’s products and product line up.
22
              171. Epic’s deception is material, in that it is likely to—and in many cases, did in fact—
23
     influence the purchasing decisions of the public for whom it was intended.
24
              172. Epic introduced its false and misleading statements into interstate commerce via
25
     press releases, brochures, other online communications, and communications with CureIS’s
26
     potential and actual customers.
27
              173. CureIS has been injured as a result of Epic’s false statements.
28

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 1            174. CureIS has suffered commercial injury based upon Epic’s misrepresentations.

 2            175. CureIS’s injury is competitive, i.e., harmful to CureIS’s ability to compete.

 3            176. Epic’s conduct as alleged is willful and exceptional, such that CureIS is entitled to

 4 an award of treble damages and its attorneys’ fees.

 5                      EIGHTH CLAIM FOR RELIEF
     UNLAWFUL AND UNFAIR COMPETITION (CAL. BUS. PROF. CODE § 17200, et seq.)
 6
              177. CureIS incorporates the foregoing paragraphs (except paragraphs 85 through 95, and
 7
     paragraphs 131 through 139) by reference as though fully set forth herein.
 8
              178. Epic’s conduct violates California’s Unfair Competition Law (“UCL”), Cal. Bus. &
 9
     Prof. Code §§ 17200, et seq., which prohibits unlawful, unfair or fraudulent business acts or
10
     practices.
11
              179. CureIS has standing to bring this claim because it has suffered economic harm and
12
     has lost customers and subscription fee revenue, among other harms, as a result of Epic’s unfair
13
     competition.
14
              180. Epic’s conduct is unlawful under California’s False Advertising Law (Cal. Bus. &
15
     Prof. Code § 17500), the Cures Act, 42 U.S.C. § 300jj–52(a)(1) (prohibiting health IT developers
16
     from engaging in information blocking), 45 C.F.R. § 171.103(a)(1) (defining practices that
17
     constitute information blocking by health IT developers), and the Federal Lanham Act as false and
18
     misleading commercial speech, in addition to constituting unlawful trade libel.
19
              181. For all these reasons, Epic’s conduct is also unfair under the UCL. Epic’s conduct is
20
     additionally unfair because Epic’s tortious interference, false advertising, and disparagement were
21
     designed to harm CureIS’s ability to compete, thereby restraining competition.
22
              182. Epic’s conduct is also fraudulent under the UCL. Epic falsely represented to CureIS’s
23
     customers that Epic either offered or could develop replacement solutions to CureIS’s to induce
24
     them to terminate their relationships with CureIS. If that did not work, Epic proceeded to block
25
     CureIS’s integration by blocking CureIS’s access to mutual customers’ data. Many of these
26
     customers had been CureIS’s customers for close to two decades.
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 1            183. As a direct result of Epic’s unlawful, unfair, and fraudulent conduct, CureIS has

 2 suffered significant harm, including lost revenue in the form of lost licensing fees, reputational harm,

 3 and the demise of valuable long-term customer relationships, which, before Epic’s interference,

 4 were projected to expand.

 5            184. Absent injunctive relief, CureIS will suffer loss of money or property, and thus has

 6 standing to seek relief under section 17200.

 7                        NINTH CLAIM FOR RELIEF
     UNFAIR COMPETITION/FALSE ADVERTISING (CAL. BUS. & PROF. CODE § 17500)
 8
              185. CureIS incorporates the foregoing paragraphs (except paragraphs 85 through 95, and
 9
     paragraphs 131 through 139) by reference as though fully set forth herein.
10
              186. Epic regularly advertises products it does not actually make, including, by example,
11
     by widely disseminating the “Products You Can Replace with Epic” brochure, which falsely
12
     represents that Epic offers products or product features it does not offer. Epic also similarly falsely
13
     represented to CureIS’s actual and potential customers that Epic’s products or product features are
14
     capable of fully replacing CureIS’s products to induce CureIS’s customers to sever their contractual
15
     and other business relationships with CureIS.
16
              187. Epic knew, or by exercise of reasonable care should have known, that its
17
     representations regarding its product features or when it was likely to develop a new product feature
18
     were false.
19
              188. Epic’s false advertising of the products or product features customers can replace
20
     with Epic are likely to deceive members of the public, as a reasonable prospective customer would
21
     consider Epic’s representations regarding its product features to be accurate.
22
              189. CureIS customers and the healthcare market more broadly were deceived by Epic’s
23
     false advertisement of its product features or products under development and as a result, terminated
24
     their relationships with CureIS and stopped paying licensing subscription fees for CureIS’s
25
     EnrollmentCURE, LettersCURE, EncounterCURE, and RecoveryCURE.
26
27

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 1               190. As a result of the Epic’s false advertising about its products and/or product features,

 2 CureIS’s customers and Epic’s customers have been deceived into accepting inferior or non-existent

 3 Epic products.

 4               191. To prevent future harm to the public, Epic should be enjoined from advertising that

 5 it offers products or product features it does not currently offer.

 6               192. CureIS is entitled to attorneys’ fees incurred to prosecute this action under Code of

 7 Civil Procedure section 1021.5 because stopping Epic’s false advertising will significantly benefit

 8 the public, prosecuting the action will require significant expense on the part of CureIS, and, in the

 9 interest of justice, any award of attorneys’ fees should not be paid out of CureIS recovery.

10                                          PRAYER FOR RELIEF

11          WHEREFORE, Plaintiff CureIS prays for judgment against Epic as follows:

12          A.        Adjudication that the acts alleged herein violate state laws alleged herein;

13          B.        Adjudication that the acts alleged herein constitute an unreasonable restraint of

14 trade, monopoly maintenance, and/or attempted monopolization in violation of the Sherman Act,

15 15 U.S.C. §§ 1, 2.

16          C.        Adjudication that the acts alleged herein constitute false advertising in violation of

17 the Lanham Act, 15 U.S.C. § 1125(a).

18          D.        Actual and treble damages, statutory damages, disgorgement, restitution, punitive

19 or exemplary damages, royalties, and such other relief as provided by the federal statutes, state

20 statutes, and state common law cited herein;

21          E.        Pre-judgment and post-judgment interest on such monetary relief;

22          F.        Equitable relief in the form of enjoining Epic from engaging in the anticompetitive

23 acts, false advertising, unfair and unlawful competition, and other tortious conduct alleged herein;

24          G.        Equitable relief as may be required to restore competition and to prevent the

25 recurrence of future statutory and tort violations alleged herein;

26          H.        The costs of bringing this suit, including reasonable attorneys’ fees; and
27          I.        All other relief as the Court deems just and proper.

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 1

 2 DATED: July 14, 2025                 QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP
 3

 4

 5                                       By      /s/ Paulina Slagter
                                              Paulina Slagter
 6                                            Attorneys for Plaintiff
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